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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,
                                                        Case No. 3:23-cv-00459-vc
                       Plaintiffs,
                                                        DEFENDANT THE KROGER
       v.                                               COMPANY’S OPPOSITION TO
                                                        PLAINTIFFS’ MOTION FOR A
Kroger Co., Albertsons Companies, Inc. and              PRELIMINARY INJUNCTION
Cerberus Capital Management, L.P.,
                                                        Date:        May 18, 2023
                       Defendants.                      Time:        10:00 a.m.
                                                        Judge:       Hon. Vince Chhabria
                                                        Courtroom:   Courtroom 5 – 17th Floor




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                                        INTRODUCTION

       Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 28) (“Motion” or “Mot.”) asks

this Court to enjoin preliminarily (1) a merger that will not close for many months because it is

undergoing regulatory review (and thus its final form remains uncertain), and (2) a Dividend that

was declared in October 2022 and paid in January 2023. Neither of these requests has merit.

       Plaintiffs’ request for a preliminary injunction blocking the merger fails on the facts and

the law. As to the facts, Plaintiffs’ evidence consists of seven “charts” drawn from the internet or

of unknown provenance. Relying on those “charts,” Plaintiffs assert a per se theory of

anticompetitive harm that would require courts to enjoin any merger wherein a non-trivial

horizontal competitor is acquired because such mergers “result in the elimination of consumer

choices.” Mot. at 11. Plaintiffs provide no economic analysis, no expert declarations, and no

pricing data to support their claim. Plaintiffs thus ask this Court to ignore the merger review

process and define a new class of per se unlawful conduct, and to do so on the flimsiest of evidence.

       As to the law, binding precedent forecloses per se treatment of mergers. Just last month,

another Judge of this Court correctly rejected a similar theory brought by the same Plaintiffs’

counsel, who “urged the Court not to follow Ninth Circuit precedent regarding what is required to

plead a prima facie Section 7 claim” under the Clayton Act. Order Granting Mot. to Dismiss at 10,

DeMartini v. Microsoft Corp., No. 3:22-cv-08991-JSC (N.D. Cal. Mar. 20, 2023), ECF No. 74

(“Microsoft Order”). As Kroger explained in its Motion to Dismiss (ECF No. 40), Plaintiffs here

have provided no basis to depart from the sound reasoning of the Microsoft Order, which dismissed

plaintiffs’ complaint for failure to allege a prima facie Section 7 claim. Indeed, if this Court grants

Kroger’s Motion to Dismiss, it need not address Plaintiffs’ Motion at all.

       Plaintiffs fail to offer evidence sufficient to meet any prong of the preliminary injunction

test. First, they fail to establish the key elements of a prima facie Section 7 claim—a well-defined

antitrust market and likely anticompetitive effects in that market—much less show that their claim

will likely win on the merits. “Determination of the relevant product and geographic markets is a

necessary predicate to deciding whether a merger contravenes the Clayton Act.” Saint Alphonsus



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Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 783 (9th Cir. 2015) (citation

omitted). Yet here, Plaintiffs cite just two complaint paragraphs and no caselaw in support of their

purported product market, which is unreasonably narrow and fails to account for the modern

realities of the grocery industry. See Mot. at 19. Indeed, the impossibility of Plaintiffs’ proposed

“nationwide” geographic market is illustrated by their own recognition of (unspecified) “local”

markets, see Mot. at 18, as well as their failure to supply any real-world evidence to support the

implausible suggestion that supermarkets in San Jose and Atlanta are somehow competing for the

same customers in Denver. And even if Plaintiffs had established relevant product and geographic

markets, there is no record evidence that any customer—much less these Plaintiffs—are likely to

suffer conceivable harm. Nor do Plaintiffs attempt to demonstrate how their alleged competitive

harm would come about, or why government review of the merger will not eliminate it.

       The Federal Trade Commission’s (“FTC”) and state attorneys general’s ongoing regulatory

review of the merger further undermines Plaintiffs’ vague efforts to define an antitrust market or

show anticompetitive effects in any such market. Because the Merger Agreement contemplates

divestiture of “as many as 650” stores prior to closing, Compl. ¶ 20, Plaintiffs’ speculation about

market-share statistics and monopoly power is untethered to real-world facts. Accordingly,

Plaintiffs’ claims are even weaker than the claims in Microsoft, where the FTC had both completed

its review of the defendants’ proposed merger and initiated administrative proceedings before the

court dismissed the plaintiffs’ complaint. Microsoft Order at 2. Here, regulatory review of the

merger is not complete, and any analysis of competitive harm in relevant geographic markets

cannot even begin until the parties’ divestitures are finalized. Even if the law permitted Plaintiffs

to demonstrate likely anticompetitive harm through market share statistics alone (it does not),

Plaintiffs cannot establish even that much, particularly when their evidence consists exclusively

of colorful charts derived from sources like “supermarketnews.com.”

       Moving to the equities, Plaintiffs cannot establish the requisite irreparable harm, that a

balance of hardships weighs in their favor, or that an injunction is in the public interest. Indeed,

Plaintiffs’ timing in filing this Motion alone defeats the “extraordinary relief” they request.


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Plaintiffs filed this Motion (1) more than five months after Kroger and Albertsons announced the

merger; (2) more than four months after four state attorneys general began their unsuccessful

efforts to enjoin the Dividend; (3) approximately two months after Albertsons paid the Dividend

(rendering their Sherman Act claim moot); and (4) more than a month after Plaintiffs filed their

Complaint. While regulatory review is ongoing, moreover, an injunction would serve no legitimate

purpose; yet it would harm Kroger by injecting uncertainty and complication into an already

complex regulatory review process. This Court should deny the Motion.

                                    ISSUES TO BE DECIDED

       Whether this Court should grant a preliminary injunction to (1) enjoin a merger that is not

anticipated to close until 2024, following regulatory review; (2) enjoin the payment of a Dividend

that has already been paid, or order disgorgement of the same Dividend.

                                          BACKGROUND

I.     Procedural Background

       Plaintiffs filed their two-count complaint on February 2, 2023 (ECF No. 1). They filed this

Motion seven weeks later, on March 23, 2023 (ECF No. 28).

       On April 13, 2023, Defendant The Kroger Co. (“Kroger”) filed a motion to dismiss (ECF

No. 40). The same day, Albertsons Companies, Inc. (“Albertsons”) filed a joinder to that motion

with respect to Count I (ECF No. 41) and a separate motion to dismiss with respect to Count II

(ECF No. 42). A third defendant, Cerberus Capital Management L.P. (“Cerberus”), filed its motion

to dismiss on April 14, 2023 (ECF No. 48). Those motions are pending and overlap with the issues

presented by Plaintiffs’ Motion. Indeed, if the Court grants Kroger’s Motion to Dismiss (ECF No.

40), it need not consider Plaintiffs’ Motion at all.

II.    Factual Background

       Kroger is a publicly owned Ohio Corporation, founded in 1883 and incorporated in 1902.

Decl. of Kroger Senior Vice President and CFO Gary Millerchip ¶ 3 (“Millerchip Decl.”). Kroger

is a leading food retailer, but its business also includes retail pharmacies and fuel centers. Id.

Kroger operates in a fiercely competitive environment under a variety of banner names and formats


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including supermarkets, seamless digital shopping options, price-impact warehouse stores, and

multi-department stores, which are similar to supercenters and offer an expanded variety of

national brand apparel and general merchandise. Id. ¶ 4. Kroger also operates various

manufacturing facilities that produce high-quality private-label products that provide

extraordinary value for its customers. Id.

       A.      Kroger and Albertsons’ Merger Agreement and Regulatory Review

       On October 13, 2022, Kroger signed a contract to purchase Albertsons (“Merger

Agreement”). Millerchip Decl., Ex. 1 (Merger Agreement); see Compl. ¶ 82. Kroger strongly

believes that the proposed merger would combine two complementary organizations, bringing

benefits to consumers, associates, and communities alike. Millerchip Decl. ¶ 7.

       Kroger knew that the transaction would be subject to an extensive regulatory clearance

process, and it expects to make divestitures as part of that process. Id. ¶ 8. To that end, the Merger

Agreement recognizes that there will be a detailed regulatory review of the deal prior to closing,

see Merger Agreement at 82, 84 (§§ 7.1(b)-(c), 8.1(e)), and it contemplates that Kroger may divest

“as many as 650” stores to obtain the necessary approvals for the deal, Compl. ¶ 20; see also

Merger Agreement at 13, 65 (definition of “Material Divestment Event” and § 6.3(d)). Kroger is

confident that the FTC and state attorneys general, including the California Attorney General, will

engage in a robust review of the proposed transaction, and it is committed to working cooperatively

in that process to secure the necessary approvals for the transaction. Millerchip Decl. ¶ 8.

       That regulatory review is already underway. In December 2022, the FTC issued Kroger a

Request for Additional Information (“Second Request”), id. ¶ 9, which asks Kroger for “more

information to assess the proposed deal,” FTC, Premerger Notification and the Merger Review

Process, https://bit.ly/3GR5UPf. The Second Request extends the waiting period under the Hart-

Scott-Rodino Antitrust Improvements Act, during which time Kroger and Albertsons cannot

consummate their merger until the earlier of (1) 30 days after Kroger substantially complies with

the Second Request or (2) the waiting period being terminated by the FTC. See 15 U.S.C.




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§§ 18a(b)(2), 18a(e)(2). Kroger is currently working to substantially comply with the Second

Request, but it has not yet done so. Millerchip Decl. ¶ 9.

       The FTC and state regulator merger review process is at a relatively early stage. Because

the review process will inform which stores Kroger will divest, the precise scope of the deal (i.e.,

the stores and other assets that Kroger will ultimately acquire from Albertsons and the stores and

assets that Kroger will be required to divest) is not yet known. Id. ¶ 10. While the regulatory review

process is ongoing, that scope is uncertain. See id. A private injunction in this case would inject

further uncertainty into that already complex regulatory clearance process. Id.

       B.      The Special Dividend and Prior Litigation

       The Merger Agreement contains a provision that adjusts the per-share price that Kroger

will pay to acquire Albertsons in the event that Albertsons unilaterally decides to issue a “Special

Dividend” (“Dividend”) of up to $4 billion. See Compl. ¶ 4; Merger Agreement at 3 (definition of

“Common Merger Consideration”). The authority to declare and pay the Pre-Closing Dividend

rests solely with Albertsons. Millerchip Decl. ¶ 14. The Merger Agreement neither requires nor

authorizes Albertsons to pay the Pre-Closing Dividend, and, notably, Kroger has no right under

the Merger Agreement to force or require Albertsons to pay the Pre-Closing Dividend. Id. Rather,

the Merger Agreement contemplates the fact that Albertsons could unilaterally and independently

declare a Pre-Closing Dividend and addresses the impact of such a dividend by providing for a

dollar-for-dollar reduction in the price paid to Albertsons’ shareholders by Kroger if Albertsons

paid the dividend. Id.; see also Merger Agreement at 3, 13, 24-25.

       On November 1 and 2, 2022, the Attorneys General for California, Illinois, and the District

of Columbia (collectively, the “D.C. Plaintiffs”) and for Washington (with the D.C. Plaintiffs, the

“State AGs”) sued Albertsons and Kroger under federal and state antitrust laws seeking to enjoin

payment of the Dividend. Every court to consider that request for injunctive relief rejected it.

       First, the U.S. District Court for the District of Columbia denied the D.C. Plaintiffs’ request

for injunctive relief three separate times: it rejected the motion for a temporary restraining order

(“TRO”), see Order Denying Motion for Temporary Restraining Order, District of Columbia v.


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Kroger Co., No. 1:22-cv-03357-CJN (D.D.C. Nov. 8, 2022), ECF. No. 50, concluding, inter alia,

that there was “no evidence of an agreement between Albertsons and Kroger to pay the

[Dividend],” and that, instead, the evidence “point[ed] to an independent decision by Albertsons

to return value to its shareholders,” Hr’g Tr. at 66:21-22, District of Columbia v. Kroger Co., No.

1:22-cv-03357-CJN (D.D.C. Nov. 8, 2022), ECF. No. 60-5; see also id. at 65:6-74:2. The same

court then denied a preliminary injunction and denied a request for an injunction pending appeal

on substantially the same basis. See Order Denying Preliminary Injunction, District of Columbia

v. Kroger Co., No. 1:22-cv-03357-CJN (D.D.C. Dec. 12, 2022), ECF No. 69; Order Denying

Motion for Temporary Injunction Pending Appeal, District of Columbia v. Kroger Co., No. 1:22-

cv-03357-CJN (D.D.C. Dec. 14, 2022), ECF No. 72.

       Second, on December 20, 2022, the U.S. Court of Appeals for the District of Columbia

denied the D.C. Plaintiffs’ motion for an injunction pending appeal and an administrative stay

because the D.C. Plaintiffs had “not satisfied the requirements for an injunction pending appeal.”

Order, District of Columbia v. Kroger Co., No. 22-7168 (D.C. Cir. Dec. 20, 2022), Doc. No.

1978445. The court later dismissed the appeal as moot after Albertsons paid the Dividend. Order,

District of Columbia v. Kroger Co., No. 22-7168 (D.C. Cir. Feb. 23, 2023), Doc. No. 1987160.

       Third, the State of Washington initially obtained an administrative order temporarily

enjoining payment of the Dividend. On December 9, 2022, however, the Washington Superior

Court denied Washington’s motion for a preliminary injunction after a full-day evidentiary hearing

that included more than five hours of testimony from three witnesses: Gary Millerchip, Kroger’s

Senior Vice President and CFO; Sharon McCollam, Albertsons’ President and CFO; and Professor

David Smith, a corporate finance expert. The court concluded that the State of Washington failed

to show that there was an agreement between Kroger and Albertsons to issue the Special Dividend

or that payment of the Special Dividend would harm Albertsons’ ability to compete. Order

Denying State of Washington’s Motion for Preliminary Injunction at 4-6, Washington v.

Albertsons Cos., Inc., No. 22-2-18046-3 SEA (Wash. Super. Ct. Dec. 9, 2022).




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       Fourth, on December 16, 2022, a Washington Supreme Court Commissioner granted an

administrative stay of the Dividend until further order of the court to allow the Court to consider

Washington’s appeal, but it noted that Washington did “not make a compelling case” that it would

prevail on its claims. Ruling at 3, Washington v. Albertsons Cos., Inc., No. 101530-5 (Wash. Dec.

16, 2022). On January 17, 2023, the Washington Supreme Court denied review of the trial court’s

decision and terminated the TRO. Order, Washington v. Albertsons Cos., Inc., No. 101530-5

(Wash. Jan. 17, 2023).

       With the Washington TRO lifted, on January 20, 2023, Albertsons paid the Dividend to its

shareholders of record as of the close of business on October 24, 2022. See Albertsons’ Schedule

14C Information Statement at 3 (ECF No. 42-5). The court granted Washington’s request to

voluntarily dismiss its claims on February 1, 2023. See Order Granting Plaintiff State of

Washington’s Mot. for Voluntarily Dismissal, Washington v. Albertsons Cos., Inc., No. 22-2-

18046-3 SEA (Wash. Super. Ct. Feb. 1, 2023). And, after the U.S. Court of Appeals for the D.C.

Circuit dismissed the D.C. Plaintiffs’ appeal of the denial of their motion for preliminary injunction

as moot, Order, District of Columbia v. Kroger Co., No. 22-7168 (D.C. Cir. Feb. 23, 2023), Doc.

No. 1987160, the D.C. Plaintiffs voluntarily dismissed their complaint as well, Plaintiffs’ Notice

of Voluntary Dismissal of Complaint, District of Columbia v. Kroger Co., No. 1:22-cv-03357-

CJN (D.D.C. Feb. 24, 2023), ECF No. 77.

       C.      Plaintiffs’ Evidence in Support of Their Motion

       The named plaintiffs in this case are 25 individuals in 11 states whose participation in this

lawsuit depends on a single alleged personal fact: that they shopped at an unidentified Kroger or

Albertsons store at some point in the past four years. Compl. ¶ 29. Plaintiffs do not attempt to

establish how the merger would affect any Plaintiff. They do not state whether any Plaintiff shops

in a store that competes with the other party, or whether there are only a few (or many) other

competitors in each Plaintiff’s local area. Instead, Plaintiffs’ evidence consists of colorful charts

that they either pulled from the internet or do not attribute to any source. See Decl. of Joseph M.

Alioto in Supp. Mot. for Prelim. Inj. at 2 (ECF No. 28-1) (listing exhibits). Specifically:


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       Exhibit A (ECF No. 28-2) is a chart of five purportedly “key” cases (all from the 1960s)

that claims to show the pre- and post-merger market shares and rankings of the companies in five

proposed transactions that were enjoined from merging under Section 7. The chart does not

indicate the geographic or product markets in which it purports to measure market share. Nor do

Plaintiffs specify any source for the chart.

       Exhibit B (ECF No. 28-3) is a diagram that lists pre- and post-merger market shares of

two supermarkets that were previously enjoined from merging—Shopping Bag and Vons—in the

Los Angeles area in 1966. It compares those market shares to the pre- and post-merger market

shares of Kroger and Albertsons on a nationwide level. Although the source of the chart is

indicated to be cnbc.com, the chart does not appear at the link provided.

       Exhibit C (ECF No. 28-4) is a pie chart showing the nationwide market share of “U.S.

Grocery Supermarket Operators” in 2020. The source of the chart is indicated as

supermarketnews.com.

       Exhibit D (ECF No. 28-5) is a bar graph showing the pre-acquisition rankings of “Top

U.S. Grocery Supermarket Operators” by annual sales in 2021. The source of the chart is indicated

as foodindustry.com.

       Exhibit E (ECF No. 28-6) is a nationwide map of the locations of Kroger and Albertsons

stores nationwide. The source of this map is listed as “Kroger Investor Relations.”

       Exhibit F (ECF No. 28-7) is a diagram showing Kroger acquisitions between 1983 and

2014. The precise source of the diagram is not clear, but Plaintiffs cite Foodandwaterwatch.org, a

non-profit group that defines itself as designed to “protect people from the corporations and other

destructive economic interests that put profit ahead of everything else,” as its support.

       Exhibit G (ECF No. 28-8) is a bar graph showing the post-acquisition rankings of “Top

U.S. Grocery Supermarket Operators” by annual sales during an unidentified time period. The

source of the chart is indicated as foodindustry.com.

       That is the only evidence Plaintiffs submit in support of their Motion.




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                                      LEGAL STANDARD

       “[T]he statutory language [of Section 16] indicates Congress’ intention that traditional

principles of equity govern the grant of injunctive relief.” California v. Am. Stores Co., 495 U.S.

271, 281 (1990) (citation omitted); see Taleff v. Sw. Airlines Co., 828 F. Supp. 2d 1118, 1122 (N.D.

Cal. 2011) (noting plaintiffs must demonstrate entitlement to injunctive relief to state a claim under

the Clayton Act), aff’d, 554 F. App’x 598 (9th Cir. 2014). Under those principles, an injunction is

“an extraordinary remedy” that “should not be granted unless the movant, by a clear showing,

carries the burden of persuasion.” Norbert v. City & Cnty. of San Francisco, 10 F.4th 918, 927

(9th Cir. 2021) (citation omitted). To obtain a preliminary injunction, Plaintiffs must show that (1)

they are likely to succeed on the merits of their claims; (2) they are likely to suffer irreparable

harm absent a preliminary injunction; (3) the hardship they would suffer absent an injunction

outweighs the hardship Defendants would suffer from entry of an injunction; and (4) an injunction

would be in the public interest. Martinez v. City of Santa Rosa, 482 F. Supp. 3d 941, 942 (N.D.

Cal. 2020) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008)).

                                           ARGUMENT

I.     Plaintiffs’ Motion Should Be Summarily Denied

       Plaintiffs assert two Counts, asking this Court to (1) enjoin the Companies’ merger; and

(2) enjoin (“and/or disgorg[e]”) the Dividend, Mot. at 1, that Albertsons has already issued. Neither

claim has merit, and, on this record, both tread dangerously close to frivolity. Plaintiffs have the

burden of demonstrating entitlement to the “extraordinary remedy” of a preliminary injunction.

Norbert, 10 F.4th at 927. As a factual and a legal matter, they have not come close to meeting that

burden. Their Motion should be summarily denied for two reasons.

       First, as an evidentiary matter, Plaintiffs’ seven exhibits—which were either drawn from

internet sources or appear to be created by counsel—are facially insufficient to satisfy their burden.

To obtain a preliminary injunction, “Plaintiffs must prove that irreparable harm is likely, not only

possible, in the absence of their requested relief.” Friends of the Wild Swan v. Weber, 955 F. Supp.

2d 1191, 1194 (D. Mont. 2013) (citing AWR v. Cottrell, 632 F.3d 1127, 1131-35 (9th Cir. 2011),


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aff’d, 767 F.3d 936 (9th Cir. 2014). The Motion does not mention the individual Plaintiffs by name,

explain where they do their grocery shopping, state whether Albertsons and Kroger compete in

their neighborhood, or describe Plaintiffs’ other competitive options. On the face of their Motion

and exhibits, Plaintiffs have not even attempted to support the purported irreparable harm with

evidence.

       Second, as explained in Kroger’s Motion to Dismiss (ECF No. 40), and as elaborated here,

Plaintiffs do not attempt to apply the Ninth Circuit’s binding legal standard for evaluating pre-

closing mergers. Plaintiffs argue that the merger is per se unlawful because Albertsons and Kroger

are horizontal rivals and because the merger is a “non-trivial” transaction. Mot. at 7-9, 17. As

another Judge of this Court recently held in response to a materially similar theory from the same

Plaintiffs’ counsel, “this argument ignores binding Ninth Circuit precedent.” Microsoft Order at

10. Rather, to meet their prima facie burden under the Clayton Act, Plaintiffs must demonstrate

“‘an appreciable danger’ or ‘a reasonable probability’ of anticompetitive effects in the relevant

market.” See DeHoog v. Anheuser-Busch InBev SA/NV, 899 F.3d 758, 763 (9th Cir. 2018) (quoting

Saint Alphonsus, 778 F.3d at 788).

       Plaintiffs do not cite DeHoog or attempt to meet the Ninth Circuit’s standard. Instead, they

urge this Court to enjoin a $25 billion merger without even mentioning their burden of showing

an “appreciable danger” of harm to Plaintiffs (or any consumer) in the local markets where they

live and work. See id. As in Microsoft, Plaintiffs thus “ignore[] binding Ninth Circuit precedent,”

Microsoft Order at 10, and they make no showing that an injunction is warranted under the correct

standard. Their arguments are directed to the incorrect legal standard should be rejected.

II.    Plaintiffs Will Not Succeed on the Merits

       While this Court need not look further than Plaintiffs’ own exhibits to deny this Motion, a

more fulsome analysis under the four Winter factors provides a longer path to the same

destination.1

1
 Plaintiffs are wrong that they are relieved of demonstrating a “likelihood of success” on the
merits. Mot. at 13. While the Ninth Circuit may have endorsed the “serious questions” standard, it
has done so only when the other factors—including irreparable harm and the public interest—have

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       A.      Plaintiffs’ Clayton Act Claim Is Likely to Fail (Count I)

       Section 7 of the Clayton Antitrust Act prohibits mergers whose effect “may be substantially

to lessen competition, or to tend to create a monopoly.” 15 U.S.C. § 18. To succeed on a Section

7 claim, Plaintiffs must establish a relevant product and geographic market in which

anticompetitive effects are likely. Because Plaintiffs do not define a plausible relevant product or

geographic market and fail to show any anticompetitive harm, Plaintiffs cannot succeed on the

merits of Count I.

               1.      Plaintiffs fail to establish relevant geographic or product markets
       When analyzing the potential anticompetitive effects of a merger, the “threshold step in

any antitrust case is to accurately define the relevant market, which refers to ‘the area of effective

competition.’” FTC v. Qualcomm Inc., 969 F.3d 974, 992 (9th Cir. 2020) (quoting Ohio v. Am.

Express Co., 138 S. Ct. 2274, 2285 (2018)). A “[d]etermination of the relevant product and

geographic markets is ‘a necessary predicate’ to deciding whether a merger contravenes the

Clayton Act.” United States v. Marine Bancorp., Inc., 418 U.S. 602, 618 (1974) (quoting United

States v. E. I. Du Pont De Nemours & Co., 353 U.S. 586, 593 (1957)).

                       a.      Plaintiffs fail to establish a relevant product market
       In support of their proposed product market, Plaintiffs offer two meager paragraphs with

no factual or legal citations of any kind. See Mot. at 18-19. Instead, relying only on the Complaint’s

conclusory allegations, Plaintiffs contend that “the relevant product market is the retail sale of food

and other grocery products in supermarkets, which are any retail grocery stores offering customers

substantially all their weekly food and grocery shopping requirements in a single shopping visit.”

Mot. at 19 (citing Compl. ¶ 45). They offer nothing else to support their claim. In fact, the source

that is cited in Plaintiffs’ Exhibit D states that, in 2021, the top three “grocery chains in the U.S.


been met and when the balance of hardships tips “sharply” in plaintiffs’ favor. See AWR v. Cottrell,
632 F.3d 1127, 1135 (9th Cir. 2011). As explained below, Plaintiffs have not satisfied (or even
submitted evidence in support of) the other preliminary injunction factors; the traditional
“likelihood of success” standard thus applies. In any event, Plaintiffs’ claims fail on the merits
under any standard.

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by revenue” were Walmart, Amazon, and Costco, none of which would fit in Plaintiffs’ proposed

product      market       definition.     See      Ex.      D      (ECF       No.      28-5)       (citing

https://www.foodindustry.com/articles/top-10-grocers-in-the-united-states-2019).               Plaintiffs’

assertion that this merger is between “the first and the second largest national competitors,” Mot.

at 10, thus depends on an artificial product market definition contradicted by their own authorities.

        In the real world, Plaintiffs’ proposed product market is far too narrow because it ignores

the modern realities of consumers’ grocery shopping habits and the grocery industry. See FTC v.

RAG-Stiftung, 436 F. Supp. 3d 278, 292 (D.D.C. 2020) (rejecting FTC’s proposed product market

as “overbroad and inconsistent with the commercial realities of the industry”). For example,

Plaintiffs ignore stores like Walmart and Target, which also provide a “full-line” of retail grocery

products and offer customers “substantially all their weekly food and grocery shopping

requirements in a single shopping visit,” contra Mot. at 19; they ignore the plethora of other stores

that have “grocery shopping” offerings, including dollar and convenience stores; and they fail to

even mention the growth of online grocery options, such as home delivery offered by grocery

stores or third parties. Because Plaintiffs bear the burden of proving their entitlement to injunctive

relief, their failure to establish a relevant product market is, on its own, a dispositive failure. 2

                        b.      Plaintiffs fail to establish a relevant geographic market
        In any antitrust case, the geographic market is critical because, without a well-defined

relevant geographic market, “there is no way to measure [the defendant’s] ability to lessen or

destroy competition.” Am. Express Co., 138 S. Ct. at 2285 (citation omitted). Accordingly, courts

routinely deny preliminary injunctions based on a failure to establish a relevant geographic market.

See, e.g., Malaney v. UAL Corp., 434 F. App’x 620, 621-22 (9th Cir. 2011) (affirming denial of

preliminary injunction based on failure to allege relevant market for airlines); California v. Sutter

2
 Plaintiffs’ one-paragraph argument that “[t]he acquisition will also affect employees,” Mot. at
21, is wholly conclusory, unsupported by any evidence or legal citation, and warrants no
consideration. Plaintiffs do not even allege that they work in the supermarket business. As in the
Microsoft Order, “Plaintiffs do not contend the alleged anticompetitive effects in the labor market
will damage them; thus, they do not have standing to pursue such claim.” Microsoft Order at 4-5.
Plaintiffs also have not identified a plausible geographic market for labor.

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Health Sys., 130 F. Supp. 2d 1109, 1132 (N.D. Cal. 2001) (finding that the plaintiff failed to prove

a well-defined geographic market for hospitals based on market data); RAG-Stiftung, 436 F. Supp.

3d at 309 (denying preliminary injunction where, inter alia, FTC failed to establish a relevant

geographic market for hydrogen peroxide); see also Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1121

(9th Cir. 2018) (holding, on appeal from an order granting a motion to dismiss, that “the district

court properly concluded that the Caddies had failed to plead any plausible product markets”).

This case should be no different.

       Plaintiffs’ entire Motion depends on the argument that “[t]he relevant geographic market

for analyzing the proposed merger in this case is the entire United States because Kroger and

Albertsons are two national-level grocery giants that compete against each other on a national

scale.” Mot. at 18. That argument misses the mark.

       For purposes of antitrust law, a “relevant geographic market” is the “area of effective

competition” to which consumers can “turn for alternative sources of supply” (here, alleged to be

“supermarkets,” Compl. ¶ 45) in response to small price changes. Tanaka v. Univ. of S. Cal., 252

F.3d 1059, 1063 (9th Cir. 2001) (citation omitted). In other words, when defining the relevant

geographic market for antitrust purposes, the question is not whether the merging companies are

“competitors” in some abstract sense. Contra Mot. at 10. The question is whether they compete

for the same customers. See Sutter Health Sys., 130 F. Supp. 2d at 1128 (“If all firms within the

proposed geographic market could, together, profitably impose an anticompetitive price increase

in the market, this would mean that customers within the market would be forced to accept the

price increase because they would not have sufficient practical alternative[s] . . . outside of the

market to which to turn.”); Sidibe v. Sutter Health, No. 12-cv-04854, 2019 WL 2078788, at *4

(N.D. Cal. May 9, 2019) (“If that hypothetical monopolist could profitably raise prices above

competitive levels, the region is a relevant geographical market.” (citation omitted)).

       Applying that standard, Plaintiffs’ argument that Albertsons and Kroger compete for the

same nationwide consumers ignores reality by suggesting that a New Yorker and a San Franciscan

have identical competitive options for supermarkets. Put differently, Plaintiffs’ theory would


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require this Court to accept the inference that, in response to an increase in grocery prices,

consumers might fly from Miami to Seattle for their weekly grocery shopping. That is neither a

plausible nor a legally permissible conception of a geographic market. Cf. Reilly v. Apple Inc., 578

F. Supp. 3d 1098, 1109 (N.D. Cal. 2022) (rejecting plaintiff’s worldwide geographic market for

electronic app transactions). By insisting on a nationwide geographic market, Plaintiffs do not even

begin to provide a coherent framework for analyzing their claims. This is not a “serious question”;

it is an easy one.

        Indeed, Plaintiffs appear to acknowledge that their asserted geographic market is

implausible, admitting that “[c]ompetition for supermarkets is . . . local in nature as consumers

typically do their grocery shopping at stores located close to where they live or work.” Mot. at 18.

Courts evaluating prior grocery store mergers have thus defined the relevant geographic markets

around the grocery options available in discrete neighborhoods rather than cities or states. See,

e.g., FTC v. Whole Foods Mkt., Inc., 502 F. Supp. 2d 1, 37 (D.D.C. 2007) (defining relevant

geographic markets as ones with healthy grocery stores within a “six mile radius” of one another),

rev’d on other grounds, 548 F.3d 1028 (D.C. Cir. 2008); Delco LLC v. Giant of Md., LLC, No. 07-

cv-3522, 2007 WL 3307018, at *19 (D.N.J. Nov. 8, 2007) (rejecting plaintiffs’ market definition

because it improperly excluded two supermarkets within six miles). 3

        While Plaintiffs vaguely assert that “regional, and local relevant geographic markets may

also exist,” Mot. at 18, they offer no specificity or evidence to support that definition. All of their

exhibits concern purported nationwide concentration of market power, see, e.g., Exs. C, D, G.

Plaintiffs’ Exhibit B underscores the problem. There, Plaintiffs attempt to contrast the estimated

nationwide market shares of this merger with the estimated market shares of the Von’s merger “in


3
  Plaintiffs’ citation to other cases involving nationwide markets only proves the point. See Mot.
at 14-17. When merging companies compete for the same customers on a nationwide basis,
nationwide statistics may be relevant. A nationwide geographic market is logical, for example,
where the subject entities are “manufacturers [that] distribute their [products] on a nationwide
basis,” Brown Shoe Co. v. United States, 370 U.S. 294, 328 (1962) (shoes); see also United States
v. Pabst Brewing Co., 384 U.S. 546, 551-52 (1966) (beer), or producers of subcomponents utilized
by manufacturers on an industry-wide basis, see United States v. Aluminum Co. of Am., 377 U.S.
271, 273-74 (1964) (aluminum conductors). It is not logical for the grocery industry.

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the Los Angeles area.” See United States v. Von’s Grocery Co., 384 U.S. 270, 271 (1966)

(emphasis added). The two cases are not remotely comparable. Moreover, Plaintiffs offer no

evidence to support even the “possibility” of an anticompetitive effect in any specific local market.

Their suggestion that the merger “will substantially lessen competition” in some unidentified

“regional, and local relevant geographic markets,” Mot. at 18, should be rejected.

               2.      Plaintiffs fail to establish actual or likely anticompetitive harm
       To succeed on their Clayton Act claim, Plaintiffs must not only allege a proper product and

geographic market but also demonstrate a reasonable probability the merger will be

anticompetitive in that specific market. See, e.g., DeHoog, 899 F.3d at 763; Saint Alphonsus, 778

F.3d at 785 (to meet the prima facie burden, a plaintiff must establish “that the merger will

probably lead to anticompetitive effects in that market”). And whether their burden is relatively

“low” or “high,” Mot. at 14, Plaintiffs must satisfy their burden with competent evidence.

       Plaintiffs’ Motion does not meaningfully attempt to satisfy the Ninth Circuit’s standard.

Instead of relying on Ninth Circuit caselaw, Plaintiffs cite 60-year-old Supreme Court cases and

centuries-old sources such as The Wealth of Nations for the basic proposition that competition is

good and mergers are bad. See Mot. at 7. Guided by that blunt articulation of the Clayton Act,

Plaintiffs argue that any merger that eliminates a “nontrivial” rival is per se unlawful. Mot. at 17;

see also Mot. at 7-8. Applying Plaintiffs’ standard, even “incremental concentrations” of market

power are sufficient to enjoin a merger. Mot. at 13. That is not the law.

       This Court need not look further than the Microsoft Order to deny Plaintiffs’ Motion. In

that order, issued last month, the court held that Plaintiffs’ same theory of the Clayton Act “ignores

binding Ninth Circuit precedent.” Microsoft Order at 10. Indeed, at oral argument on the motion

to dismiss in that case, “Plaintiffs urged this Court not to follow Ninth Circuit precedent regarding

what is required to plead a prima facie Section 7 claim because, in their view, the Ninth Circuit

law conflicts with the United States Supreme Court merger cases from the 1960’s.” Id. (emphasis

added). The court correctly rejected that proposition, and rightly so: “Disregarding Ninth Circuit

precedent is not this Court’s prerogative.” Id.


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       In other words, Plaintiffs’ suggestion that this Court should eschew any “complicated

economic analysis,” Mot. at 19, is contrary to law. To be sure, increased post-merger market share

in a properly defined product and geographic market is one factor that can suggest anticompetitive

effects. See United States v. Baker Hughes Inc., 908 F.2d 981, 990 (D.C. Cir. 1990). As courts

around the country have made clear, however, an economic analysis nonetheless is required when

assessing the anticompetitive effects of a potential merger. See Microsoft Order at 10 (“Simply

put, there is no support for the notion that, merely by removing one competitor, any horizontal

merger in the airline industry will be anticompetitive and thereby violate Section 7.” (quoting

Malaney v. UAL Corp., No. 3:10-cv-02858, 2010 WL 3790296, at *7 n.11 (N.D. Cal. Sept. 27,

2010), aff’d, 434 F. App’x 620 (9th Cir. 2011)); Bradt v. T-Mobile US, Inc., No. 19-cv-07752,

2020 WL 1233939, at *4 (N.D. Cal. Mar. 13, 2020) (finding no support for a “per se rule whenever

a merger is proposed”); In re AMR Corp., No. 22-901, 2023 WL 2563897, at *1 (2d Cir. Mar. 20,

2023) (“reject[ing] Plaintiffs’ view” that courts are “obliged by Supreme Court precedent from the

1960s to treat post-merger market share as virtually conclusive of a Section 7 violation”). Plaintiffs

have provided no sound legal basis to adopt their theory.

       Plaintiffs’ own exhibits illustrate the flaws in their arguments. The closest they come to

providing evidence of anything smaller than a nationwide market is a map of all of the Albertsons

and Kroger stores in the United States. Ex. E. But Plaintiffs have offered no evidence of a reduction

in competition anywhere in the United States, instead setting forth the bare conclusion that “the

merger will lessen competition in numerous markets in which Kroger and Albertsons compete.”

Mot. at 18. And Plaintiffs’ allegation that “Kroger and Albertsons currently have extensive

overlapping markets,” Mot. at 21, is not itself supported by the map, which shows that the two

chains are largely concentrated in distinct and disparate geographic regions. Contra Mot. at 20.

       Plaintiffs’ assertions of anticompetitive harm also ignore the importance of divestitures in

the merger approval process. As Plaintiffs’ own authorities recognize, “divestiture is the normal

and usual remedy against an unlawful merger, whether sued by the government or by a private

plaintiff.” California v. Am. Stores Co., 492 U.S. 1301, 1305 (1989) (O’Connor, J.) (quoting 2


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Phillip Areeda & Donald F. Turner, Antitrust Law § 328b, at 137 (1978)); Olin Corp. v. FTC, 986

F.2d 1295, 1307 (9th Cir. 1993).

       Federal antitrust agencies routinely require divestitures in local markets to address

competitive concerns with proposed grocery store and other retail mergers. See, e.g., Statement of

Chair Lina M. Khan, In re JAB Consumer Fund/SAGE Veterinary Partners, File No. 2110140, at

1 (June 13, 2022), https://bit.ly/3UFVOX1. For these types of mergers, “the agency identifies

specific local markets where the merging parties have overlapping assets and where the deal would

therefore most directly reduce competition, and it requires the merging companies to divest those

overlapping assets to a separate buyer.” Id. at 2. These divestitures “restore fully the competition

that otherwise would be eliminated in these markets” as a result of the merger. Analysis of

Agreement Containing Consent Order to Aid Public Comment, In re Koninklijke Ahold N.V. and

Delhaize Grp. NV/SA, File No. 151-0175, at 4 (July 22, 2016), https://bit.ly/3MLhnUc; see also,

e.g., Analysis of Agreement Containing Consent Orders to Aid Public Comment, In re Seven & i

Holdings Co., File No. 201-0108, at 4 (June 25, 2021), https://bit.ly/41sPHYq. Plaintiffs’ all-or-

nothing request for injunctive relief only underscores the reality that the divestitures resulting from

the FTC’s merger review process will fully resolve any hypothetical harm here. 4

       B.      Plaintiffs’ Sherman Act Claim Is Likely to Fail (Count II)

       As Kroger explained in its Motion to Dismiss, Plaintiffs’ Sherman Act claim seeks to

enjoin a dividend that has already been paid based on an antitrust theory that has already been

debunked. In short, their arguments are nonsensical. Their two requested remedies in Count II—

(1) an injunction and (2) disgorgement under Section 16 of the Clayton Act—are either moot or

not authorized. And in any event, Plaintiffs provide no facts to suggest an unlawful agreement.

               1.      Plaintiffs’ requested remedies are not legally authorized
       Without cognizable relief, there is no cognizable claim. See Uzuegbunam v. Preczewski,

141 S. Ct. 792, 801 (2021) (“[A] plaintiff must maintain a personal interest in . . . each form of


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  For similar reasons, and as explained in Kroger’s Motion to Dismiss, Plaintiffs’ claim is not
ripe. See also Kroger’s Motion to Dismiss at 10-11 (ECF No. 40).

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relief sought.” (citation omitted)). Count II thus fails because Plaintiffs’ two requested remedies—

(1) an injunction and (2) disgorgement under Section 16 of the Clayton Act—are either moot or

not authorized.

       First, Plaintiffs’ request for injunctive relief is moot because Albertsons issued the

Dividend on January 20, 2023. “[A]ll of the events sought to be enjoined have now occurred.”

McKee & Co. v. First Nat’l Bank of San Diego, 397 F.2d 248, 249 (9th Cir. 1968) (per curiam).

Relying on that fact (and the parties’ agreement), the D.C. Circuit dismissed the appeal as moot.

Order, District of Columbia v. Kroger, No. 22-7168 (D.C. Cir. Dec. 20, 2022). “A request for

injunctive relief remains live only so long as there is some present harm left to enjoin.” Bayer v.

Neiman Marcus Grp., Inc., 861 F.3d 853, 864 (9th Cir. 2017) (citation omitted). There is no such

harm here.

       Second, as explained in Kroger’s Motion to Dismiss (ECF No. 40 at 12-13), Plaintiffs’

request for disgorgement is nonsensical as to Kroger. See In re Ditropan XL Antitrust Litig., 529

F. Supp. 2d 1098, 1102 (N.D. Cal. 2007) (defining disgorgement as “compel[ling] a defendant to

surrender all money [or profits] obtained through an unfair business practice” (citation omitted)).

Kroger has taken no action with regard to the Dividend, it has no Dividend payment to disgorge,

and it cannot grant any relief to Plaintiffs. See Hateley v. SEC, 8 F.3d 653, 655 (9th Cir. 1993)

(“The purpose of disgorgement is to deprive a person of ‘ill-gotten gains’ and prevent unjust

enrichment.” (citation omitted)). And even if disgorgement made some sense, “the Ninth Circuit

disallows private use of Section 16 to pursue disgorgement.” In re: Cathode Ray Tube (Crt)

Antitrust Litig., No. 07-cv-5944, 2016 WL 3648478, at *13 (N.D. Cal. July 7, 2016); see id.

(collecting cases).

                  2.   Plaintiffs have not established an unlawful agreement
       Even if this court were to reach the merits of Plaintiffs’ Sherman Act claim, that claim is

destined for failure. To establish an “agreement” under Section 1 of the Sherman Act, Plaintiffs

must present direct or circumstantial evidence that Kroger and Albertsons “had a conscious

commitment to a common scheme designed to achieve an unlawful objective.” Monsanto Co. v.


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Spray-Rite Serv. Corp., 465 U.S. 752, 764 (1984). Under this standard, “conduct [that is] as

consistent with permissible competition as with illegal conspiracy does not, standing alone,

support an inference of antitrust conspiracy.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 588 (1986); see also First Nat’l Bank v. Cities Serv. Co., 391 U.S. 253, 279-84

(1968). Thus, “[t]here must be evidence that tends to exclude the possibility that [Defendants] were

acting independently.” Monsanto Co., 465 U.S. at 764 (emphasis added); see also Copperweld

Corp. v. Indep. Tube Corp., 467 U.S. 752, 768 (1984) (Section 1 “does not reach conduct that is

‘wholly unilateral’” (citation omitted)).5

       Plaintiffs’ sole evidence of an “agreement” is “the merger document itself”; yet they never

analyze the actual terms of the Agreement. The Merger Agreement does not include any provision

whereby Kroger and Albertsons agree that Albertsons must issue the Dividend; Kroger has no

claim of breach regardless of whether Albertsons issues, does not issue, or changes the amount of

the Dividend. Millerchip Decl. ¶ 14. Rather, the Merger Agreement contemplates the fact that

Albertsons could unilaterally and independently declare a Pre-Closing Dividend and addresses the

impact of such a dividend by providing for a dollar-for-dollar reduction in the price paid to

Albertsons’ shareholders by Kroger if Albertsons paid the dividend. Id. The fact that Kroger has

no right to demand payment of the Dividend under the Merger Agreement illustrates that the

Dividend was not “part of” the Agreement. Albertsons’ unilateral payment of the Dividend to its

shareholders—and not to Kroger—only confirms that fact. Supra at 5.

       Beyond their vague reference to the Merger Agreement, Plaintiffs offer no facts to support

their claim. As numerous courts have recognized on far more robust records, no such facts exist.

Indeed, one federal court in the District of Columbia on three occasions held that a materially

5
  Plaintiffs’ Sherman Act claim fails for a number of other reasons as well. The failure to allege a
relevant geographic market, supra at 12-15, is a fatal flaw in Plaintiffs’ Sherman Act claim. See
Am. Express Co., 138 S. Ct. at 2285. The claim should also be dismissed for lack of antitrust
standing. In assessing antitrust standing, the court examines whether the “alleged injury was the
direct result” of the allegedly anticompetitive conduct—the “harm may not be ‘derivative and
indirect’ or ‘secondary, consequential, or remote.’” City of Oakland v. Raiders, 20 F.4th 441, 458
(9th Cir. 2021) (quoting Theme Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d 991, 1004 (9th
Cir. 2008)). Yet as explained supra at 15-17, Plaintiffs have offered no evidence that could link
their hypothetical injury to Albertsons’ payment of the Dividend.

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similar challenge—brought by the D.C. Plaintiffs—was unlikely to succeed on the merits because,

inter alia, the D.C. Plaintiffs failed to demonstrate that Kroger agreed that Albertsons would pay

the Dividend. Supra at 5-7. The D.C. Circuit likewise denied the D.C. Plaintiffs’ request for an

injunction on emergency appeal. Order, District of Columbia v. Kroger, No. 22-7168 (D.C. Cir.

Dec. 20, 2022). Similarly, in a suit brought by the State of Washington, a Washington state court

denied an equivalent request for injunctive relief, Order, Washington v. Albertsons Cos., Inc., No.

22-2-18046-3 (Wash. Super. Ct. Dec. 9, 2022), and the Supreme Court of Washington denied

discretionary review, Order, Washington v. Albertsons Cos. Inc., No. 101530-5 (Wash. Jan. 17,

2023). After their appeals failed, the State AGs voluntarily dismissed their claims.

       In sum, no court to consider Plaintiffs’ novel antitrust theory has given it any credence, and

Plaintiffs’ sparse allegations in this case provide no reason to reach a different conclusion here.

III.   Plaintiffs Have Not Established Harm, Much Less Irreparable Harm

       “An injunction may be awarded to a private plaintiff . . . only when he . . . shows that the

antitrust injuries are personal.” Malaney, 2010 WL 3790296, at *5 (citing United States v. Borden

Co., 347 U.S. 514, 518 (1954)). But Plaintiffs’ Motion offers no evidence of actual or likely

personal injuries to the named Plaintiffs. Instead, Plaintiffs’ Motion rests on the debunked antitrust

theory that the “eliminat[ion]” of “consumer choice” is per se irreparable harm. Mot. at 23-24. But

enjoining mergers based on an amorphous harm to “consumer choice” amounts to a categorical

prohibition on any merger that would remove a company. And it would allow any plaintiff to hold

mergers hostage based on the mere assertion that they “are consumers and customers” of the

Defendants. Mot. at 23. As explained supra at 15-16, every court to consider Plaintiffs’ theory has

rejected it, and this case should be no different.

       First, Plaintiffs’ irreparable-harm argument fails for lack of evidence. This Court cannot

find irreparable harm without an evidentiary basis, and Plaintiffs have provided none. See Am.

Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985) (reversing the

district court’s preliminary injunction order because the evidence presented, even if indicative of

injury to competition, was insufficient to show irreparable harm); GEC US 1 LLC v. Frontier


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Renewables, LLC, No. 16-cv-1276, 2016 WL 3345456, at *5 (N.D. Cal. 2016) (finding no

irreparable harm were the alleged harms were “purely speculative” and plaintiffs “present[ed] no

evidence” and accordingly “fail[ed] to establish that the losses they might incur [we]re not

compensable at law”); Lockheed Missile & Space Co. v. Hughes Aircraft Co., 887 F. Supp. 1320,

1325 (N.D. Cal. 1995) (finding no irreparable harm where nothing in the record, including an

expert’s declaration, indicated such harm in absence of injunctive relief). Under any

circumstances, an injunction is “an extraordinary remedy” that “should not be granted unless the

movant, by a clear showing, carries the burden of persuasion.” Norbert, 10 F.4th at 927 (citation

omitted). Here, Plaintiffs have not even attempted to satisfy their burden. Mot. at 23-24. They offer

no expert testimony, no economic analysis, no price comparisons, and no surveys of consumer

behavior. They offer only rhetoric.

        Second, the Merger Agreement and the ongoing regulatory review process undermine any

claim for irreparable harm. Given the ongoing regulatory review process and the possible

divestiture of “as many as 650” stores, Compl. ¶ 20, it is unclear where—if anywhere—Plaintiffs

might have even a theoretical injury, much less an irreparable one. As explained in Kroger’s

Motion to Dismiss, Plaintiffs do not establish the imminent and particularized injury sufficient to

demonstrate the bare minimum for Article III standing. Kroger’s Mot. to Dismiss at 8-10 (ECF

No. 40). Indeed, to the extent Plaintiffs’ theory of irreparable harm is intelligible at all, it appears

to rest on a purely speculative calculation of nationwide market share that ignores any divestitures

entirely. Mot. at 23-24; Ex. B.

        Even without divestitures, Plaintiffs’ own authorities demonstrate that mere market share

statistics are insufficient to show that the proposed merger would harm competition. See Boardman

v. Pacific Seafood Grp., 822 F.3d 1011, 1021 (9th Cir. 2016). In Boardman, for instance, the

plaintiffs submitted an expert declaration and highly contextualized data showing that narrowly

defined “seafood input markets” would become “highly concentrated” in the event of a merger

and that there were multiple barriers to entry. Id. at 1021-22. Plaintiffs here have provided nothing

comparable.


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        Plaintiffs’ citation to California v. Am. Stores Co., 492 U.S. 1301 (1989), is likewise

unavailing. While the Supreme Court quoted the part of the Clayton Act authorizing private

plaintiffs to “sue for and have injunctive relief . . . against threatened loss,” id. at 1305 (quoting 15

U.S.C. § 26), it never implied that plaintiffs could claim a potential for threatened loss with mere

allegations and no evidence. Indeed, the Court approved the preliminary injunction in that case

because there was “overwhelming statistical evidence . . . demonstrat[ing] a strong probability that

the proposed merger will substantially lessen competition in violation of Section 7 of the Clayton

Act.” Id. at 1303 (emphasis added) (quoting California v. Am. Stores Co., 697 F. Supp. 1125, 1135

(C.D. Cal. 1988)).6

        Third, Plaintiffs’ delay undermines any argument for the “extraordinary” remedy of

injunctive relief. “A preliminary injunction is sought upon the theory that there is an urgent need

for speedy action to protect the plaintiff’s rights. By sleeping on [their] rights,” a plaintiff therefore

“demonstrates the lack of need for speedy action.” Lydo Enters., Inc. v. City of Las Vegas, 745

F.2d 1211, 1213 (9th Cir. 1984) (citation omitted); see Garcia v. Google, Inc., 786 F.3d 733 (9th

Cir. 2015) (en banc); First Franklin Fin. Corp. v. Franklin First Fin., Ltd., 356 F. Supp. 2d 1048,

1055 (N.D. Cal. 2005) (finding that a three-month delay “undercuts . . . claims of urgency and

irreparable harm”). Here, Plaintiffs filed this Motion (1) more than five months after Kroger and

Albertsons announced the merger; (2) more than four months after the State AGs began their

unsuccessful efforts to enjoin the Dividend; (3) approximately two months after Albertsons paid

the Dividend; and (4) more than a month after Plaintiffs filed their Complaint. In light of Plaintiffs’

own unexplained delay, any assertion of urgency falls flat.



6
 To the extent Plaintiffs seek to rely on claims of monetary damage in the form of increased prices
for their groceries, see Compl. ¶¶ 20, 25-26, their claims fail because “any monetary loss could be
fairly compensated with a monetary damages award,” and Plaintiffs have not demonstrated that
such relief would be inadequate, Bradt v. T-Mobile US, Inc., No. 19-cv-07752, 2020 WL 1233939,
at *3-4 (N.D. Cal. 2020); see Los Angeles Mem’l Coliseum Comm’n v. Nat’l Football League, 634
F.2d 1197, 1201-02 (9th Cir. 1980) (“monetary injury is not normally considered irreparable” in
Section 16 cases); Golden Gate Pharmacy Servs., Inc. v. Pfizer, Inc., No. 09-cv-3854, 2009 WL
3415680, at *1 (N.D. Cal. Oct. 22, 2009) (holding that “injuries resulting from higher prices would
appear to be injuries fully compensable by an award of monetary damages”).

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       Finally, Plaintiffs’ own motion emphasizes that there is no need for a disruptive

preliminary injunction. Plaintiffs note that “the merger agreement contemplates the closing

occurring as late as January 13, 2024, with a possibility of it being extended up to an additional

270 days.” Mot. at 24 (citing Merger Agreement § 8.1(e)). With an anticipated closing date so far

in the future—and without certainty as to which stores will ultimately be owned by Kroger—there

is no reason for this Court to enjoin the merger, particularly when the FTC and state regulators are

still in the process of reviewing the transaction. See supra at 4-5.

IV.    The Balance of Equities Tips in Defendants’ Favor, and Preliminary Relief Is Not in
       the Public Interest
       The final pages of Plaintiffs’ Motion cite no evidence to support a conclusion that they

satisfied the “balance of equities” or “public interest” factors. Plaintiffs accordingly have placed

nothing on their side of the balance. Yet again, this alone is a basis to deny the Motion. See Los

Angeles Mem’l Coliseum Comm’n v. Nat’l Football League, 634 F.2d 1197, 1203 (9th Cir. 1980)

(explaining that there is a “requirement that some balance of hardships favoring [the moving] party

be established by the record”); Winter, 555 U.S. at 20 (“A plaintiff seeking a preliminary injunction

must establish that . . . the balance of equities tips in his favor.”). And customers have other

recourse to address their antitrust allegations, including “bringing issues to the attention of federal

[or] state . . . agencies.” AT&T Mobility LLC v. Bernardi, Nos. 11-cv-03992 CRB, 11-cv-04412,

2011 WL 5079549, at *12 (N.D. Cal. 2011) (citation omitted). Indeed, such agencies are already

in the midst of reviewing the transaction. Without a preliminary injunction, customers would suffer

no harm during the pendency of the government review. See id.

       On the other hand, Kroger will suffer economic harm from an injunction, even a temporary

one. Kroger’s CFO has explained that an injunction would disrupt and complicate FTC review and

inject unnecessary uncertainty into an already complex regulatory process. Millerchip Decl. ¶ 10.

The balance of hardships thus clearly favors Kroger.

       Plaintiffs’ appeals to the public interest ring hollow. Unlike the 25 named private Plaintiffs,

the FTC and state attorneys general actually represent the public interest, and they are specifically



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directed to “protect ‘the public against the evils . . . from the undue lessening of competition.’” In

re First Databank Antitrust Litig., 205 F.R.D. 408, 415 (D.D.C. 2002) (quoting Int’l Shoe Co. v.

FTC, 280 U.S. 291, 297-98 (1929)). The prior litigation in D.C. and Washington demonstrates that

state regulators are watching this merger closely. They already attempted—and failed—to assert

the same Sherman Act claim that Plaintiffs now assert. See supra at 5-7. There is no reason to

think that regulators would not intervene in the future if they thought that the merger might pose

an anticompetitive risk.

       Plaintiffs provide no basis to conclude that they can represent the public interest better than

the government agencies. There is a “strong public interest in ensuring that regulatory agencies

and courts hearing government actions are able to consider the merger without the potential for

being preempted by . . . extensive proceedings.” Bernardi, 2011 WL 5079549, at *12. And

Plaintiffs’ action may serve only to disrupt the regulatory agencies’ own review. The public has

an interest in effective enforcement of antitrust laws, not superfluous litigation on meritless claims.

Other than alleging a vague public harm of “lessened competition,” Plaintiffs provide no basis for

why a preliminary injunction would serve the public interest. Mot. at 23-24.

       Finally, the public-policy consequences of accepting Plaintiffs’ arguments would be

exceedingly disruptive. Because there is nothing particularized about these Plaintiffs or their

alleged harm, allowing an injunction in this case would allow any Kroger or Albertsons consumer

to bring a suit anywhere in the country. And because Plaintiffs are not pursuing their claims as a

class, future plaintiffs could do so seriatim. Moreover, Plaintiffs’ broad antitrust theory is not

limited to supermarkets. Such a precedent would grant plaintiffs around the country a license to

hold all mergers hostage, extracting ransom payments from the merging companies before the

merger may be consummated. That result is not in the public interest. 7




7
  For the reasons discussed herein, this Court should deny Plaintiffs’ Motion. But in the event this
Court is inclined to grant injunctive relief, it should require that Plaintiffs post a significant bond
“to pay the costs and damages sustained by any party found to have been wrongfully enjoined or
restrained.” Fed. R. Civ. P. 65(c).

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                                        CONCLUSION

       For these reasons, this Court should deny Plaintiffs’ Motion for a Preliminary Injunction.



Dated: April 20, 2023
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                                                 By: /s/ Daniel B. Asimow

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on April 20, 2023, the foregoing document was filed with

the Clerk of the U.S. District Court for the Northern District of California, using the court’s

electronic filing system (ECF), in compliance with Civil L.R. 5-1. The ECF system serves a

“Notice of Electronic Filing” to all parties and counsel who have appeared in this action, who have

consented under Civil L.R. 5-1 to accept that Notice as service of this document.

Dated: April 20, 2023

                                                     /s/ Daniel B. Asimow
                                                     Daniel B. Asimow




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